Case 1:25-cv-03892-RMB

Document 16

Filed 05/20/25 Page 1 of 4

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ROBERT BURNHAM and MICHAEL
ASHKER, in both his individual capacity
and in his capacity as the Sellers
Representative under the Parties’ May 5,
2023 Membership Interest Purchase
Agreement,

Plaintiffs,
Vv.
COMPASS MINERALS
INTERNATIONAL, INC. and
COMPASS MINERALS AMERICA,
INC.,

Defendants.

No. 25 Civ. 3892 (RMB) (OTW)

DECLARATION OF MICHAEL ASHKER

I, Michael Ashker, do hereby declare under penalty of perjury pursuant to 28

U.S.C. § 1746 as follows:

i In or around 2018, Robert Burnham and | began working together, eventually co-
founding Fortress North America LLC (“Fortress” or the “Company”), which we developed into

an industry leader in the design, manufacturing, and distribution of aerial fire retardants used in

the fighting of wildfires.

2. I initially served as the Chief Financial Officer and Head of Business Strategy of
Fortress, before transitioning to the roles of Chief Operating Officer and Vice President of Finance.

I also served on the Fortress Board of Directors through 2023. As of 2018, I owned approximately

19% of the Company.
Case 1:25-cv-03892-RMB Document16 Filed 05/20/25 Page2of4

3. With only a handful of competitors, this specialty aerial wildfire fire retardant
industry is quite small. After years of hard work developing and growing Fortress’ brand, in 2022,
Fortress became the first new company in over two decades to have its products added to the U.S.
Forest Service’s Qualified Products List. To this day, Fortress remains one of only two aerial
wildfire fire retardant companies to have similar products included on that list.

4, After self-financing Fortress through its seed stage, Compass Minerals
International, Inc. and Compass Minerals America, Inc. (together, “Compass”) became our first
outside strategic investor in 2019. Compass eventually purchased additional ownership in October
of 2021 and became an approximate 45% owner. They acquired the remainder of Fortress on May
5, 2023, through a Membership Interest Purchase Agreement (the “MIPA”). As per the MIPA, I
agreed to serve as the “Sellers Representative,” acting on behalf of the group that was selling the
remaining shares of Fortress to Compass, which included early seed-stage investors and most of
our employees who helped build the company.

5. Understanding the critical nature of maintaining our entrepreneurial culture, Robert
Burnham and I insisted that the MIPA include a requirement that Compass operate Fortress as a
separate brand under its own name for a period of at least two years. The logic behind this clause
was for the long-term benefit of the company. We had developed meaningful contacts and
relationships throughout the wildfire-fighting community, and all parties believed that maintaining
that identity was good for the future of the business. The MIPA memorialized this in order to
preserve the goodwill and client relationships that Fortress had fought so hard to create. This
clause was one of the pillars of the MIPA. We would not have agreed to sell Fortress to Compass

without this provision in the MIPA.
Case 1:25-cv-03892-RMB Document16 Filed 05/20/25 Page3of4

6. Additionally, to ensure that Fortress continued to maintain strong leadership, |
agreed, at Compass’ insistence, to execute a new two-year employment agreement pursuant to
which I would remain as an executive officer at Fortress as the COO and Director of Finance. The
two years gave us the runway to secure major long term contracts with the US Forest Service, Cal-
Fire, and even expand into some foreign markets.

a It was then, and remains now, very important to me that Fortress’ business
continues to operate and realize its full potential. This Company was a labor of love and reflects
directly on my reputation as an entrepreneur in the tight-knit fire-retardant industry. Accordingly,
Robert Burnham and I negotiated with Compass for a provision in the MIPA that, should Compass
breach the MIPA, we are entitled to have a court intervene and force Compass to honor its
contractual obligation to continue operating Fortress as a going concern. There is no amount of
monetary damages that could compensate for the destruction of a Company that Robert Burnham
and I, together with our talented and loyal employees, worked so hard to build.

8. Unfortunately, Compass breached the MIPA mere months after closing the
transaction. Rather than operating Fortress as its own brand—as the MIPA required—Compass
folded nearly all of Fortress’ operations into the Compass infrastructure and corporate brand. This
included eliminating Fortress’ independent email, removing the branded website, taking over all
marketing and social media, and terminating many of its employees. Robert Burnham and I were
then removed from the Company that we built. Compass first stripped me of my day-to-day
authority as COO, and then terminated me without cause on October 13, 2023. Compass replaced
me with one of its own employees, who had no experience in the fire retardant industry at all.

9, On March 25, 2025, Compass announced its decision to shut down Fortress

entirely. This was extremely distressing news. Robert Burnham and I repeatedly reached out to
Case 1:25-cv-03892-RMB Document16 Filed 05/20/25 Page4of4

Compass on behalf of the Sellers Group in hopes of resolving this dispute. Fortress’ business
could still be salvaged if Compass would agree to honor the MIPA. We believed that we were
making progress with Compass toward a resolution, when on May 2, 2025, discussions were
stopped. On May 5, 2025, Compass informed me that it had entered into an exclusive 20-day
period with a third party for the purchase of Fortress and/or substantially all of its assets. This 20-
day period is set to end on Thursday, May 22, 2025, so a sale appears to be imminent. After
additional attempts to resolve our dispute in good faith, we filed this motion for a temporary
restraining order and preliminary injunction in hopes of salvaging Fortress and having it once again

run as its own independent brand in a good faith manner, as required by the MIPA.

I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct to the best of my knowledge, information, and belief, and that this

» UCL

Michael Ashker

Declaration was executed on May 20, 2025.

